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FILED BY ___

  
  

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IN THE UNITED STATES DISTRICT COURT OSJULZQ AH 7:00

FOR THE WESTERN DISTRICT OF TENNESSEE

WESTERN DIVISION .~ ¢~~
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CECIL JOHNSON, JR .
Plaintiff,

vs. Civ. No. 04-2140-B[P

CADILLAC OF MEMPHIS, et al.,

Defendants.

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ORDER DENYING PLAINTIFF'S MOTION TO COMPEL DEFENDANT TO RESPOND
TO THE SECOND SET OF INTERROGATORIES AND REQUEST FOR DOCUMENTS
AND GRANTING DEFENDANT'S MOTION FOR PROTECTIVE ORDER

 

Before the court is plaintiff's Motion to Compel Defendant to
Respond to the Second Set of Interrogatories and Request for
Documents, filed July 8, 2005 (dkt #22) and defendant Cadillac of
Memphis's Motion for Protective Order, filed July 12, 2005 (dkt
#23). Both motions relate to plaintiff's Second Set of
lnterrogatories and Requests for Production of Documents, Which
Were served on defendant on June 10, 2005. For the reasons below,
the plaintiff's motion to compel is DENIED and the defendant's
motion for protective order is GRANTED.

On February 25, 2004, the plaintiff filed this Title VII
complaint alleging that he was terminated from his employment with
the defendant on the basis of his race, and that the defendant

retaliated against him for complaining about unfair treatment. On

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w|th F-lu|e 58 and/or 79(a) FHCP on ‘Z 1 g 2 - §§ 5 @

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October 14, 2005, the court held a scheduling conference in this
case. Present at the conference were the plaintiff, who was pro se
at the time, and counsel for the defendants. At that conference,
the court discussed with the parties the scheduling of pre-trial
matters and established dates for completing discoveryz On October
19, 2004, the court entered a scheduling order setting forth these
deadlines. Most notably, the deadline for the completion of all
discovery was April 15, 2005. The non-jury trial is set to begin
on August 15, 2005.

Sometime after the scheduling conference, the plaintiff
retained counsel, Darrell J. O'Neal, to represent him. Mr. O'Neal
propounded interrogatories and requests for documents on the
defendant, and obtained these discovery materials after the court
granted plaintiff's motion to compel. On June 22, 2005, over two
months after the close of discovery, Mr. O'Neal filed a motion to
withdraw as counsel. In the motion, Mr. O'Neal stated that
plaintiff had no opposition to counsel withdrawing, and that the
trial would not be delayed by withdrawal because "written discovery
is complete and. no depositions have been scheduled. by' either
party." Both Mr. O'Neal and the plaintiff signed the motion. On
June 23, 2005, the court granted the motion to withdraw, allowing

the plaintiff to proceed pro se.

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On or about June 10, 2005, plaintiff served the defendant with
45 interrogatories (which was in addition to the 14 interrogatories
contained in plaintiff‘s first set of interrogatories) and 9
document requests. Defendant objected to responding to these
discovery requests, and as a result, the present motions were
filed.

lt is well established that the scope of discovery is within

the sound discretion of the trial court. Lavado v. Keohane, 992

 

F.2d 601, 604 (6th Cir. 1993). A district court may properly deny
a motion to compel discovery where the motion to compel was filed
after the close of discovery. Overnite Transportation Co. v.
International Brotherhood. of Teamsters, No. 99-2747, 2001 WL
1910054, *1 (W.D. Tenn. Oct. 26, 2001); Medtronic Sofamor Danekl
Inc. v. Osteotech, lnc., No. 99-2656, 2001 WL 1910058 (W.D. Tenn.
Sept. 21, 2001); see also Banks v. CBOCS West, lnc., No. 01 C 0795,
2004 WL 723767, *2 (N.D. lll. April l, 2004); Willis v. New WOrld
Van Linesl Inc., 123 F.Supp.2d 380, 401 (E.D. Mich. 2000) (citing
Ginett v. Federal Express Corp., 166 F.3d 1213 (6th Cir. 1998));

Gault v. Nabisco Biscuit Co., 184 F.R.D. 620, 622 (D. Nev. 1999).

 

As this Court in Overnite Transportation explained:
Local Rule 26.1{d) of the Western District of Tennessee

provides

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All discovery shall be completed and all

motions in connection with disputed discovery

shall be filed no later than the dates

designated in the scheduling order.” (emphasis

added). The plain language of the amended

scheduling order indicates that all discovery

was to be “completed” by May 31, 2001, nearly

five months ago. The term “completed” means

“finished,” or with “nothing substantial

remaining to be done.” Black’s Law Dictionary

285 (6th ed. 1990).
ld. at *1; see also Medtronic, 2001 WL 1910058, at *4 (“the motion
to compel was filed with the Court on August 22, 2001, one day
after the August 21, 2001 discovery deadline had passed. lf for no
other reason, the motion should be denied as untimely filed after
the discovery deadline.”)

Although under certain circumstances there may be good cause
to excuse an untimely motion to compel, the Court finds that no
such good cause exists in this case. The scheduling order set the
deadline for completing discovery for April 15, 2005. By that
date, all parties were to complete all discovery. In fact, in Mr.
O'Neal's motion to withdraw, which was signed by the plaintiff
personally, he stated that as of June 22, 2005 written discovery
was complete. Thus, not only is the motion to compel untimely, but
the underlying discovery requests which are the subject of the

W€.. _
motion to compel /aé'served nearly two months after the discovery

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deadline. The court finds no good cause to excuse the plaintiff's

untimely motion to compel.

I'I` IS SO ORDERED.

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TU M. PHAM‘
United States Magistrate Judge

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Date U

 

 

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This notice confirms a copy of the document docketed as number 28 in
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